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                                                       IN THE UNITED STATES BANKRUPTCY COURT
                                                      Southern District of Georgia, Augusta Division

Fill in this information to identify the case:

Debtor 1                Trimble, Timitric

Debtor 2                                                                                                                       [ ] Check if this is an amended
(Spouse, if filing)                                                                                                                  plan.
Case Number
(If known)



                                                           CHAPTER 13 PLAN AND MOTION
                [Pursuant to Fed. R. Bankr. P. 3015.1, the Southern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].


1.           Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following
             items. If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision
             will be ineffective if set out in the plan.

             (a) This plan:         [ ] contains nonstandard provisions. See paragraph 15 below.
                                    [X] does not contain nonstandard provisions.

             (b)This plan:          [ ] values the claim(s) that secures collateral. See paragraph 4(f) below.
                                    [X ] does not value claim(s) that secures collateral.

             (c)This plan:          [ ] seeks to avoid a lien or security interest. See paragraph 8 below.
                                    [X] does not seek to avoid a lien or security interest.

2.           Plan Payments.

             (a) The Debtor(s) shall pay to the Chapter 13 Trustee (the “
                                                                        Trustee”
                                                                               ) the sum of $ 510.00 for the applicable commitment
                 period of:

                  [X] 60 months; or
                  [ ] a minimum of 36 months. See 11 U.S.C. § 1325(b)(4).

             (b) The payments under paragraph 2(a) shall be paid:

                [x ] Pursuant to a Notice to Commence Wage Withholding the Debtor(s) request(s) that the Trustee serve such Notice(s)
                      upon the Debtor’ s(s’
                                          ) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
                      Debtor’s(s’
                                ) employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
                      percentages of the monthly plan payment:

                                    [ x ] Debtor 1 100%               [ ] Debtor 2                             %

                [ ] Direct to the Trustee for the following reason(s):
                                 [ ] The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance,
                                         or retirement.
                                    [ ] The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):


             (c) Additional Payments of $                     (estimated amount) will be made on                                                     (anticipated date)
                 from                    (source, including income tax refunds).

3.    Long-Term Debt Payments.
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       (a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified
           as follows on the following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be
           disbursed by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied
           to postpetition amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable.
           Conduit payments that are to be made by the Trustee which become due after the filing of the petition but before the
           month of the first payment designated here will be added to the prepetition arrearage claim.

                                                                                  MONTH OF FIRST
                                                                 PAYMENTS TO BE   POSTPETITION
                                           PRINCIPAL             MADE BY (TRUSTEE PAYMENT TO                   INITIAL MONTHLY
CREDITOR            COLLATERAL             RESIDENCE(Y/N)        OR DEBTOR(S))    CREDITOR                     PAYMENT
None

       (b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid
           in full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage
           payments are to be applied to prepetition amounts owed as evidenced by the allowed claim.

                                                                                                          INTEREST RATE ON
                         DESCRIPTION OF             PRINCIPAL                  ESTIMATED AMOUNT           ARREARAGE
CREDITOR                 COLLATERAL                 RESIDENCE(Y/N)             OF ARREARAGE               (if applicable)
None


4.     Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated
       otherwise:

       (a) Trustee’
                  s Fees. The Trustee percentage fee as set by the United States Trustee.

       (b) Attorney’
                   s Fees. Attorney’
                                   s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $. 4,500.00

       (c) Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the
           life of the plan as funds become available in the order specified by law.

       (d) Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth
          below.

                         DESCRIPTION OF                                                                   MONTHLY
CREDITOR                 COLLATERAL                 ESTIMATED CLAIM            INTEREST RATE              PAYMENT
SANTANDER CONSUMER USA   2010 Toyota Camry          $3,567.00                  5.25%                      69.94
GE Financial             2013 Chevrolet Camaro $ 19,472.00                        5.25%                     381.82

       (e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. §
           1325(a)). The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a
           purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within
           1 year of the petition date and secured by a purchase money security interest in any other thing of value. These claims
           will be paid in full under the plan with interest at the rate stated below:

                         DESCRIPTION OF                                                                   MONTHLY
CREDITOR                 COLLATERAL                 ESTIMATED CLAIM            INTEREST RATE              PAYMENT
None


       (f) Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims
           partially secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set
           forth below. The unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h)


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           below. The plan shall be served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s)
           shall attach a certificate of service.

                         DESCRIPTION OF             VALUATION OF                                          MONTHLY
CREDITOR                 COLLATERAL                 SECURED CLAIM              INTEREST RATE              PAYMENT

       (g) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%
         [ ] with interest at      % per annum or [ ] without interest:
           None

       (h) General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated
          claims provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a 0.00% dividend or a pro rata share of $
          ______, whichever is greater.

5.     Executory Contracts.

       (a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

                                                                                                                      DISBURSED
                                                                                                                      BY
                                         DESCRIPTION OF PROPERTY/                      ASSUMED/        MONTHLY        TRUSTEE OR
CREDITOR                                 SERVICES AND CONTRACT                         REJECTED        PAYMENT        DEBTOR(S)
None


       (b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CREDITOR                                                        ESTIMATED ARREARAGE
None

6.     Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments
       pursuant to 11 U.S.C. § 1326(a)(1) on allowed claims of the following creditors: [ ] Direct to the Creditor; or [ ] To the
       Trustee.

CREDITOR                                                        ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
None


7.     Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of
       such claim identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d)
       to the following claimant(s):

CLAIMANT                                                        ADDRESS
None


8.     Lien Avoidance. Pursuant to 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the
       following creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The
       plan shall be served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach
       a certificate of service.

CREDITOR                                       LIEN IDENTIFICATION (if known)           PROPERTY
None


9.     Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent
       shown below upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11

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        U.S.C. § 362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all
        respects. Any allowed deficiency balance resulting from a creditor’  s disposition of the collateral will be treated as an
        unsecured claim in paragraph 4(h) of this plan if the creditor amends its previously-filed, timely claim within 180 days from
        entry of the order confirming this plan or by such additional time as the creditor may be granted upon motion filed within
        that 180-day period.

CREDITOR                                         DESCRIPTION OF COLLATERAL                 AMOUNT OF CLAIM SATISFIED
None

10.     Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided
        by11 U.S.C § 1325(a)(5).

11.     Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan
        are based upon the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated
        claims. In accordance with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure objections to claims may be
        filed before or after confirmation.

12.     Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan
        proposes, after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

13.     Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
        creditor pursuant to Fed. R. Bankr. P. 3002.1(c) unless the Debtor ’
                                                                           s(s’
                                                                              ) plan is modified after the filing of the notice to
        provide for payment of such fees, expenses, or charges.

14.     Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter
        13plan on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If
        the Debtor(s) seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s)
        to avoid a security interest or lien (paragraph 8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the
        plan on the affected creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

15.     Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard
        provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere
        in this plan are void.


By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dated: May 1 , 2018                                                    /s/ Timitric Trimble
                                                                       Debtor 1

                                                                       Debtor 2
                                                                       /s/ Lauminnia Nivens
                                                                       Attorney for the Debtor(s)




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